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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SEAN E. TAPP,

                                Plaintiff,
                                                                     21-CV-0138
                    -against-
                                                                 CIVIL JUDGMENT
NEW YORK,

                                Defendant.

         Pursuant to the order issued January 11, 2021, dismissing the complaint,

         IT IS ORDERED, ADJUDGED, AND DECREED that the complaint is dismissed

without prejudice under the Prison Litigation Reform Act’s “three-strikes” rule. See 28 U.S.C.

§ 1915(g). Plaintiff continues to be barred from filing any civil action under the in forma

pauperis (IFP) statute while a prisoner unless Plaintiff is under imminent danger of serious

physical injury. See 28 U.S.C. § 1915(g).

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     January 11, 2021
           New York, New York

                                                           COLLEEN McMAHON
                                                       Chief United States District Judge
